Case: Case
      16-1954
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                     United States Court of Appeals
                                     For the First Circuit
                                        _____________________

      No. 16-1954
                                              JANE DOE,

                                           Plaintiff, Appellant,

                                                    v.

       BROWN UNIVERSITY, in Providence in the state of Rhode Island and Providence Plantations;
          MELISSA CLARK, individually and as an agent of BROWN; MARGARET KLAWUNN,
       individually and as an agent of BROWN; and CHRISTOPHER DENNIS, individually and as an
                                           agent of BROWN,

                                          Defendants, Appellees
                                          __________________

                                              JUDGMENT

                                       Entered: November 22, 2019

              This cause came on to be heard on appeal from the United States District Court for the
      District of Rhode Island and was argued by counsel.

            Upon consideration whereof, it is now here ordered, adjudged and decreed as follows: The
      judgment of the district court is affirmed.


                                                         By the Court:

                                                         Maria R. Hamilton, Clerk


      cc:
      Samuel D. Zurier
      Andrew T. Miltenberg
      Philip Arwood Byler
      Beverly E. Ledbetter
      Thomas Robert Bender
      Kathleen A. Collins
